                 Case 1-19-44421-ess              Doc 10        Filed 07/21/19          Entered 07/22/19 00:18:51

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 19-44421-ess
Helen Pardo De Figueroa                                                                                    Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: csmall                       Page 1 of 1                          Date Rcvd: Jul 19, 2019
                                      Form ID: pdfdat                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 21, 2019.
db             +Helen Pardo De Figueroa,   108-24 41 Avenue,   Corona, NY 11368-2537

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 21, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 19, 2019 at the address(es) listed below:
              Marianne DeRosa    Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 2
                       Case 1-19-44421-ess                          Doc 10           Filed 07/21/19        Entered 07/22/19 00:18:51



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                                               Eastern District of New York

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     Order Approving Payment of Filing Fee in Installments

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     FRXUWRUGHUVWKDW

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          Total Due                 



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                                     July 19, 2019                          s/Elizabeth S. Stong
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